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                                       EXHIBIT B

                       Attorneys and Paraprofessionals’ Information




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         The Balch attorneys who rendered professional services in these cases during the Fee

Period are:

                       Position                                  Hourly     Total
                       with the    Year                          Billing    Billed      Total
Professional Person    Applicant   Admitted     Department       Rate       Hours       Compensation
Steven Burns           Partner     1995         Environmental    $445.00    1.10        $489.50
Thomas L. Casey III    Partner     2003         Environmental    $395.00    45.80       $18,091.00
Thomas DeLawrence      Partner     2006         Environmental    $330.00    73.40       $24,222.00
P. Stephen Gidiere     Partner     1996         Environmental    $525.00    185.50      $97,387.50
Scott B. Grover        Partner     2001         Energy           $450.00    7.00        $3,150.00
Leo E. Manuel          Partner     2005         Energy           $355.00    0.50        $177.50
C. Grady Moore         Partner     1992         Environmental    $525.00    42.70       $22,417.50
Julia Barber           Associate   2014         Environmental    $245.00    36.90       $9,040.50
S. Ellen Burgin        Associate   2014         Environmental    $240.00    13.70       $3,288.00
Steven Corhern         Associate   2005         Litigation       $285.00    11.90       $3,391.50
Ryan M. Hodinka        Associate   2011         Litigation       $270.00    0.90        $243.00
Alan Lovett            Associate   2013         Energy           $235.00    0.50        $117.50
Michael P. Malenfant   Associate   2013         Energy           $240.00    3.50        $840.00
David W. Mitchell      Associate   2009         Environmental    $300.00    178.50      $53,550.00
J. Patrick Runge       Associate   2008         Environmental    $280.00    19.80       $5,544.00
                       Staff
Amy Benschoter         Attorney    2005         Environmental    $230.00    108.80      $25,024.00
                       Staff
Tal Simpson            Attorney    2011         Environmental    $265.00    56.80       $15,052.00



                                              Total Fees Requested                   $282,025.50




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